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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   ALI BARARSANI,                                 CV 21-3679 PA (SHKx)
12                 Plaintiff,                       JUDGMENT
13          v.
14   HDI GLOBAL INSURANCE
     COMPANY, et al.,
15
                   Defendant.
16
17
18          Pursuant to the Court’s September 17, 2021 Order granting partial summary judgment
19   in favor of defendant HDI Global Insurance Company (“Defendant”) and the Court’s
20   November 5, 2021 Order granting summary judgment in favor of Defendant,
21          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant shall
22   have judgment in its favor against Plaintiff Ali Bararsani (“Plaintiff”); and
23          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff take
24   nothing and that Defendant shall have its costs of suit.
25
26   DATED: November 5, 2021                            _________________________________
                                                                   Percy Anderson
27                                                        UNITED STATES DISTRICT JUDGE
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